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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                8:23CR158
                                              )
       vs.                                    )
                                              )
                                              )                 ORDER
AMARRO L. LOERA,                              )
                                              )
                     Defendant.


       This matter is before the court on plaintiff’s Motion to Continue Trial [33]. For the
reasons set forth in the motion, the undersigned magistrate judge finds good cause to
grant the continuance. Accordingly,

       IT IS ORDERED that the Motion to Continue Trial [33] is granted, as follows:

       1. The jury trial, now set for January 16, 2024 is continued to March 5, 2024.

       2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
          justice will be served by granting this continuance and outweigh the interests
          of the public and the defendant in a speedy trial. Any additional time arising as
          a result of the granting of this motion, that is, the time between today’s date
          and March 5, 2024, shall be deemed excludable time in any computation of
          time under the requirement of the Speedy Trial Act. Failure to grant a
          continuance may result in a miscarriage of justice and would deny counsel the
          reasonable time necessary for effective preparation, taking into account the
          exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(i) and (iv).


       DATED: January 4, 2024

                                                  BY THE COURT:


                                                  s/ Susan M. Bazis
                                                  United States Magistrate Judge
